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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Plaintiff,

v.                                               Criminal Action No. 17-232-EGS

MICHAEL T. FLYNN,

Defendant.



     MR. FLYNN’S MOTION TO DISMISS FOR EGREGIOUS GOVERNMENT
            MISCONDUCT AND IN THE INTEREST OF JUSTICE



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       Michael T. Flynn (“Mr. Flynn”) hereby moves to dismiss the charges against him for

outrageous government misconduct and in the interest of justice.1 This motion is based on

exculpatory evidence (“Brady”) as well as egregious government misconduct that was discovered

after Mr. Flynn’s Motion to Compel Brady Material (ECF No. 109) and related briefing.

       Such exculpatory evidence and outrageous misconduct includes that on December 9, 2019,

the Inspector General of the Department of Justice (“DOJ”) issued its 478-page report on the

“Review of Four FISA Applications and Other Aspects of the FBI’s Crossfire Hurricane

Investigation” (“IG Report”).2 The IG Report illustrates the misconduct by the government as

further detailed below.

       Further, on December 15, 2019, the government produced to Mr. Flynn’s defense team 637

pages of documents—including sixteen long-awaited FD-302s and 206 pages of corresponding

FBI handwritten notes—all of interviews of Mr. Flynn.         Additionally, in its Supplemental

Sentencing Memorandum (which also breaches the plea agreement), the government included

never-produced FD-302s of the government’s interviews with Mr. Flynn’s prior counsel at

Covington & Burling (“Covington”), Robert Kelner and Brian Smith, from June 2018. ECF No.




1
  Contrary to a suggestion in this Court’s recent opinion, Mr. Flynn did not previously move to
dismiss the case against him. ECF No. 144 at 2. As the docket sheet and this Court’s recital of
motions show, this is Mr. Flynn’s only Motion to Dismiss. In Mr. Flynn’s previous filings, he
made clear he would ultimately move for dismissal, that the evidence requested in his Brady motion
would further support the basis for dismissal, and that the case should be dismissed. See ECF No.
133 at n.15.
2
 See U.S. Department of Justice (DOJ) Office of the Inspector General (OIG), A Review of Four
FISA Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation, Oversight
and Review Division Report 20-012 Revised (December 2019)
https://www.justice.gov/storage/120919-examination.pdf (hereinafter, “IG Report”).


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150-4 through 150-6. The government also belatedly produced to Mr. Flynn FD-302s and related

documents as recently as January 23, 2020. ECF No. 157.

        These documents contain remarkable new Brady evidence that the prosecution has long

suppressed. For instance, this evidence not only belies the bogus FARA “false statement” charges

Mr. Van Grack leveraged against Covington and Mr. Flynn, but also demonstrates Mr. Van Grack

knew these charges were bogus, yet sought to have Mr. Flynn make a false statement in his EDVA

interview on June 25, 2019, and was encouraging subornation of perjury by Mr. Flynn. See ECF

No. 151. Additionally, the IG Report shows that the government long suppressed evidence of

shocking malfeasance by the leadership of the FBI and Supervisory Special Agent 1 (“SSA 1”)

that was favorable to Mr. Flynn’s defense. For these reasons, and those outlined in prior briefing,

Mr. Flynn moves to dismiss this entire prosecution for outrageous government misconduct and in

the interest of justice.

        This factually and legally baseless “investigation” and prosecution of Mr. Flynn has no

precedent. From the FBI’s insertion of SSA 1 into the August 17, 2016 presidential briefing of

candidate Trump and Mr. Flynn, to the former Director of the FBI bragging and laughing on

national television about his own cleverness and violations of FBI/DOJ rules in dispatching agents

to the White House to interview the new President’s National Security Advisor, to the still missing

original FBI FD-302 of the January 24, 2017 interview—everything about this prosecution has

violated long-standing standards and policy for the FBI and the DOJ. In addition to the myriad of

breaches and irregularities identified in our prior filings, the IG Report released on December 9,




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2019, reveals even more evidence of the FBI’s deceitful and wrongful conduct that should have

been disclosed to Mr. Flynn’s defense.3

       There were two FBI agents who interviewed Mr. Flynn in the White House on January 24,

2017—Agent Peter Strzok and SSA 1. The IG Report confirms both participated in government

misconduct. As explained in further detail below, not only was Strzok so biased, calculated, and

deceitful he had to be terminated from Mueller’s investigation and then the FBI/DOJ, but it has

also now been revealed that SSA 1 was surreptitiously inserted in the mock presidential briefing

on August 17, 2016, to collect information and report on Mr. Trump and Mr. Flynn. Moreover,

SSA 1 was involved in every aspect of the debacle that is Crossfire Hurricane and significant

illegal surveillance resulting from it. Further, SSA 1 bore ultimate responsibility for four falsified

applications to the FISA court and oversaw virtually every abuse inherent in Crossfire Hurricane—

including suppression of exculpatory evidence. See generally IG Report.

       Only the dismissal of this prosecution in its entirety would begin to get the attention of the

government, the FBI, and the DOJ needed to impress upon them the “reprehensible nature of its

acts and omissions.” United States v. Kohring, 637 F.3d 895, 914 (9th Cir. 2011) (Fletcher, J.,

concurring in part and dissenting in part).




3
  Despite the defense, the government, and this Court agreeing to abate the schedule in this case
because of the pending and admittedly-relevant IG Report (ECF No. 140 and this Court’s Minute
Order of November 27, 2019), this Court denied Mr. Flynn’s Motion to Compel Production of
Brady Evidence without allowing for additional briefing in light of that report or considering any
of the deliberate government misconduct it disclosed. ECF Nos. 143 and 144. Mr. Flynn now
moves to dismiss the indictment for the additional egregious misconduct documented in the IG
Report, other recently produced materials, all previously briefed issues, and in the interest of
justice.


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    I.      THIS COURT HAS THE AUTHORITY PURSUANT TO ITS SUPERVISORY
            POWERS TO DISMISS THIS PROSECUTION IN THE INTEREST OF
            JUSTICE.

         “[G]uided by considerations of justice, and in the exercise of supervisory powers, federal

courts may, within limits, formulate procedural rules not specifically required by the Constitution

or the Congress.” United States v. Hasting, 461 U.S. 499, 505 (1983). The supervisory power of

federal courts has a threefold purpose: “to implement a remedy for violation of recognized rights,

to preserve judicial integrity by ensuring that a conviction rests on appropriate considerations

validly before the jury, and finally, as a remedy designed to deter illegal conduct.” Id.

         The exercise of this authority can take many forms, including dismissal of a case altogether

so long as the prosecutorial misconduct was harmful to the defendant. Id. at 505. A defendant

seeking to dismiss a conviction for prosecutorial misconduct must show that he was prejudiced by

the misconduct. Bank of Nova Scotia v. United States, 487 U.S. 250, 263 (1988). Prejudice is

found when “the government’s conduct had at least some impact” on the outcome. United States

v. Bundy, No. 2:16-cr-046, Transcript of Proceedings at 13:1-2 (D. Nev. Jan. 8, 2018). Ex. 1.

         Although dismissal is unusual, “[s]paring use, of course, does not mean no use. Even

‘disfavored remedies’ must be used in certain situations.” United States v. Omni Int'l Corp., 634

F. Supp. 1414, 1438 (D. Md. 1986). Dismissal is particularly appropriate when the government

has engaged in conduct that perverts the rule of law and grossly abuses its power and might—as it

has done against Mr. Flynn. Quoting Justice Brandeis, the D.C. Circuit noted that “[i]t is desirable

that criminals should be detected. . . .It is also desirable that the government should not itself foster

and pay for other crimes, when they are the means by which the [conviction] is to be obtained.”

United States v. McCord, 509 F.2d 334, 350 (D.C. Cir. 1974). This Circuit continued:

         This is so because the principle is not one of fairness to the defendant alone but
         rather, in Justice Brandeis' words, is one designed to ‘maintain respect for law; . . .


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       to promote confidence in the administration of justice; . . . to preserve the judicial
       process from contamination. . . .Our government is the potent, the omnipresent
       teacher. For good or for ill, it teaches the whole people by its example. Crime is
       contagious. If the government becomes a lawbreaker, it breeds contempt for law; it
       invites every man to become a law unto himself; it invites anarchy. To declare that
       in the administration of the criminal law the end justifies the means- -to declare that
       the government may commit crimes in order to secure the conviction of a private
       criminal- -would bring terrible retribution.'
Id.

       Although Ninth Circuit case law is not controlling, it is persuasive and useful in evaluating

these issues. The Ninth Circuit has developed the most robust framework addressing this issue. In

Bundy, the district court dismissed the case for egregious government misconduct after the

prosecution suppressed Brady that “bolstered the defense and was useful to rebut the government’s

theory,” and that the government had “failed to disclose potentially exculpatory, favorable and

material information,” including a number of FD-302s, an unredacted FBI TOC log, and more.

United States v. Bundy, No. 2:16-cr-046, Transcript of Proceedings at 13:9-22 (D. Nev. Jan. 8,

2018). Ex. 1. The court in Bundy based its dismissal on two separate grounds— first, as a due

process violation and second, as an exercise of its supervisory powers to deter illegal conduct.

United States v. Bundy, 406 F. Supp. 3d 932, 935 (D. Nev. 2018).

       The court explained that it could dismiss an indictment on the ground of “outrageous

government conduct if the conduct amount[ed] to a due process violation,” United States v. Bundy,

No. 2:16-cr-046, Transcript of Proceedings at 8:18-20 (D. Nev. Jan. 8, 2018). Ex. 1. Such

misconduct must be “attributable to and directed by the government” Id. at 9:7 (quoting United

States v. Barrera-Morena, 951 F.2d 1089, 1092 (9th Cir. 1991)), and the government conduct must

be “so grossly shocking and so outrageous as to violate the universal sense of justice.” Id. at 9:2-

3 (quoting United States v. Restrepo, 930 F.2d 705, 712 (9th Cir. 1991)).




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          Part of the rationale that undergirds this supervisory authority to deter conduct that is

abhorrent to a “universal sense of justice,” finds foundation in Sorrells v. United States: “it is the

duty of the court to stop the prosecution in the interest of the Government itself, to protect it from

the illegal conduct of its officers and to preserve the purity of its courts.” 287 U.S. 435, 446 (1932).

Sorrells is a prohibition-era case where the court determined that “the act for which defendant was

prosecuted was instigated by the prohibition agent, that it was the creature of his purpose, that

defendant had no previous disposition to commit it but was an industrious, law-abiding citizen,

and that the agent lured defendant, otherwise innocent, to its commission…” Id. at 441.

          This motion demonstrates the government’s outrageous misconduct and the corresponding

prejudice to Mr. Flynn that undoubtedly violated his rights. Accordingly, the prosecution should

be dismissed.

    II.      THE IG REPORT DISCLOSES OUTRAGEOUS GOVERNMENT
             MISCONDUCT THAT MANDATES DISMISSAL OF THIS PROSECUTION.
          There is a long and troubling history of misconduct in the DOJ and the FBI that has

dramatically worsened over the years. In 2015, Henry F. Schuelke III returned a 500-page report

to this Court in which he found “pervasive, systematic and intentional misconduct” in the DOJ,

specifically with respect to suppressing evidence favorable to the defense.4 Instead of correcting

this, the DOJ lawyers immediately attempted to excuse the same misconduct in two related cases

by claiming the exculpatory evidence was not material.5 Those cases found their way to the Ninth

Circuit.


4
 Henry F. Schuelke III, Special Counsel, Report to Hon. Emmet G. Sullivan of Investigation
Conducted Pursuant to the Court’s Order, dated Apr. 7, 2009, In re Special Proceedings, No.
1:09-mc-00198-EGS (D.D.C. Mar. 15, 2012) (available at
http://legaltimes.typepad.com/ﬁles/Stevens_report.pdf.)
5
 Foreign Intelligence Surveillance Court, Document Regarding the Section 702 2018
Certification, (Oct. 18, 2018) (Boasberg, J.) (available at
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       There, the Ninth Circuit was furious with the government’s misconduct. Judge Betty

Fletcher wrote separately to excoriate the prosecution’s “ﬂagrant, willful bad-faith misbehavior”

which she said was “an affront to the integrity of our system of justice.” Kohring, 637 F.3d at 914

(Fletcher, J., concurring in part and dissenting in part). Further, she found “[t]he prosecution’s

refusal to accept responsibility for its misconduct [] deeply troubling and indicat[ive] that a

stronger remedy is necessary to impress upon it the reprehensible nature of its acts and omissions.”

Id. Even Judge Fletcher’s strong language is insufficient for the outrageous conduct of the FBI

and DOJ in Mr. Flynn’s case.6

       More recently, the government’s lack of candor and suppression of evidence favorable to

the defense has been playing out in the FBI, DOJ, and NSA’s endless abuses of the government’s




https://www.intelligence.gov/assets/documents/702%20Documents/declassified/2018_Cert_FIS
C_Opin_18Oct18.pdf).
6
  The Honorable Alex Kozinski cited to case law in a preface to The Georgetown Law Journal that
is also helpful. Hon. Alex Kozinski, Preface, n.120, 44 GEO. L.J. ANN. REV. CRIM. PROC (2015):

       See United States v. Kohring, 637 F.3d 895 (9th Cir. 2010); United States v. Kott,
       423 Fed. App’x 736 (9th Cir. 2011); see also [Sidney Powell, Licensed to Lie 190-
       201], 231 (2014), holding that the prosecution had yet again violated Brady by
       failing to disclose the very evidence deemed material in the Stevens case, a panel
       of my court vacated both defendants’ convictions and remanded for a new trial.
       Judge Betty Fletcher lambasted the prosecution’s “ﬂagrant, willful bad-faith
       misbehavior” as “an affront to the integrity of our system of justice” and found
       “[t]he prosecution’s refusal to accept responsibility for its misconduct [] deeply
       troubling and indicat[ive] that a stronger remedy is necessary to impress upon it the
       reprehensible nature of its acts and omissions.” Kohring, 637 F.3d at 914 (Fletcher,
       J., concurring in part and dissenting in part); see Kott, 423 Fed. App’x at 738
       (Fletcher, J., concurring in part and dissenting in part) (“Despite their assurances
       that they take this matter seriously, the government attorneys have attempted to
       minimize the extent and seriousness of the prosecutorial misconduct and even assert
       that Kott received a fair trial . . . . The government’s stance on appeal leads me to
       conclude that it still has failed to fully grasp the egregiousness of its misconduct,
       as well as the importance of its constitutionally imposed discovery obligations.”).


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powerful surveillance apparatus. The abuses became so overwhelming that Judge Rosemary

Collyer wrote and later partially declassified a 99-page decision in 2016 in which she excoriated

the FBI and NSA for their lack of candor and abuses of the search queries of the NSA database.7

Not only did the last administration—especially from late 2015-16—dramatically increase the

abuse of “about queries” in the NSA database, which Judge Collyer noted was “a very serious

Fourth Amendment issue,” but it also expanded the distribution of the illegally obtained

information among federal agencies.8 See also ECF No. 109 at 8.

          In October 2019, Judge Boasberg, also sitting on the FISC, publicly released a heavily

redacted opinion describing the FBI's repeated non-compliant queries of Section 702 information

and relaxed procedures that have led to systemic Fourth Amendment violations at that agency.9

Judge Boasberg wrote, “In a number of cases, a single improper decision or assessment resulted




7
  Foreign Intelligence Surveillance Court, FISC Memorandum and Order, (Apr. 26, 2018)
(Collyer, R.) (available at
https://www.dni.gov/files/documents/icotr/51117/2016_Cert_FISC_Memo_Opin_Order_Apr_20
17.pdf) at 19, 87 (noting that 85% of the queries targeting American citizens were unauthorized
and illegal), n. 69 (saying “the improper access granted the [redacted] contractors was apparently
in place [redacted] and seems to have been the result of deliberate decision making” including by
lawyers); see also Charlie Savage, NSA Gets More Latitude to Share Intercepted
Communications, THE N.Y. TIMES (Jan. 12, 2017) (reporting that Attorney General Loretta
Lynch signed new rules for the NSA that permitted the agency to share raw intelligence with
sixteen other agencies, thereby increasing the likelihood that personal information would be
improperly disclosed), https://www.nytimes.com/2017/01/12/us/politics/nsa-gets-more-latitude-
to-share-intercepted-communications.html; See also Exec. Order No. 12,333, 3 C.F.R. 200
(1982), as amended by Exec. Order No. 13, 284, 68 Fed. Reg. 4075 (Jan. 23, 2003). Judge
Collyer just stepped down early from serving as Chief Judge of the FISA court, and Judge
Boasberg was assigned to the role.
8
    Id. at 19.
9
    Supra n. 5.


                                                8
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in the use of query terms corresponding to a large number of individuals, including U.S. persons.”

Id. at 68. He continued:

        During March 24-27, 2017, the FBI conducted queries using identifiers for over
        70,000 communication facilities "associated with" persons with access to FBI
        facilities and systems. See Nov. 22, 2017, Notice at 2. [Redacted] proceeded with
        those queries notwithstanding advice from the office of General Counsel (OGC)
        that they should not be conducted without approval by OGC and the National
        Security Division (NSD) of the Department of Justice.

Id. at 69.

        These are flagrant and deliberate violations of law that affect the Fourth Amendment rights

of thousands of Americans.10 Further, these violations directly impact Mr. Flynn, who was the

subject of a felony leak of classified information and was illegally unmasked by the prior

administration.

        On December 9, 2019, the Inspector General for the Department of Justice has released his

tome—reporting on the FBI’s deliberate deceit, malfeasance, and misfeasance in its applications

for FISA warrants against Carter Page and the overarching Crossfire Hurricane investigation,

which also targeted Mr. Flynn and enabled the FBI to obtain—illegally—the communications of

hundreds of people, including Mr. Flynn. See generally IG Report.

        A.     The December 2019 IG Report is Replete with Information Exculpatory to Mr.
               Flynn and Damning of the FBI’s Conduct Employed Against Him.

        The IG Report reveals information that is exculpatory, material, and favorable to the

defense, which the government did not previously disclose to Mr. Flynn. Mr. Flynn is one of the

four people originally targeted by the FBI in Crossfire Hurricane because of his purported “ties to



10
   Foreign Intelligence Surveillance Court, In Re Carter W. Page, A U.S. Person, No. 16-1182,
17-52, 17-375, 17-679 (Jan. 7, 2020) (Boasberg, J.) (available at
https://www.fisc.uscourts.gov/sites/default/files/FISC%20Declassifed%20Order%2016-
1182%2017-52%2017-375%2017-679%20%20200123.pdf).


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Russia.”11 The IG Report is a scathing indictment of the conduct of the leadership and small group

in the FBI that ran this operation against Mr. Flynn. This is especially true for the two FBI agents

who interviewed Mr. Flynn on January 24, 2017, and on whose remarkably edited FD-302 the

felonious “false statement” allegations depend, Strzok and SSA 1.12 To the extent he could, under

the limitations of his role in the DOJ, IG Horowitz exposed lies, misrepresentations, and material

omissions in four applications for FISA warrants to the FISC.13 The IG Report shows Strzok and

SSA 1 repeatedly and deliberately hid exculpatory evidence from the FISC. Moreover, as IG

Horowitz testified in front of the Homeland Security Committee, he “could not rule out” political

preferences and bias as the explanation for the government misconduct he found at every turn.14




11
  The innocence of Mr. Flynn’s supposed “Russia ties” is thoroughly documented in reports of
the DIA which show the extent to which Mr. Flynn was working with the government—just as
Carter Page was—but this Court has denied this exculpatory information to Mr. Flynn’s defense.
ECF No. 144. The DIA information negates the FBI’s sheer pretext for “investigating” Mr. Flynn.
Members of Congress are also interested in exculpatory information. Ex. 2.
12
  The government asserts that the name of SSA 1 is covered by the Protective Order, but that
name was known to Ms. Powell before she became counsel to Mr. Flynn, and the agent’s name
has been published throughout the media.
13
   For example, the Inspector General could not interview persons with the CIA and only had
access to documents that were sent to the DOJ or the FBI. He could not question former FBI
Director Comey on certain issues because Mr. Comey refused to accept a security clearance for
that purpose and did not cooperate with the Inspector General’s investigation. “Certain former FBI
employees who agreed to interviews, including Comey and Mr. Baker, chose not to request that
their security clearances be reinstated for their OIG interviews. Therefore, we were unable to
provide classified information or documents to them during their interviews to develop their
testimony, or to assist their recollections of relevant events.” IG Report at 12. As Attorney General
Barr noted, this meant that Comey “couldn't be questioned about classified matters.” Pete
Williams, Interview with Attorney General William Barr (Dec. 10, 2019), NBC News,
https://www.youtube.com/watch?v=LRKFo0JmuBc.
14
    C-SPAN, Justice Dept. IG Testifies on Origins of FBI's Russia Inquiry, C-SPAN.COM, Dec.
18,      2019,      https://www.c-span.org/video/?467350-1/justice-department-inspector-general-
testifies-origins-fbis-russia-inquiry.


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Indeed, there were no satisfactory explanations for the many violations, falsehoods, and errors the

Inspector General found.

          B.     From the IG Report, Extraordinary Facts About SSA 1 Emerge that Should
                 Have Been Disclosed to Mr. Flynn as Brady Evidence Prior to his Plea.

          SSA 1 also played a much larger role in the FBI’s Crossfire Hurricane than the defense

was led to believe. He was in fact the Supervisor of Crossfire Hurricane. IG Report at 305. He

helped pick the team. Id. at 65. The agents reported to him. Id. Then, he reported operational

activities to Strzok. Id. Even more remarkable, DOJ official Bruce Ohr provided information

collected by Christopher Steele (“Steele”) (through his contract with Fusion GPS15) to the FBI

“out of the blue.” Id. at 99. SSA 1 reviewed this information. Id. at 100. SSA 1 knew that Steele

was “desperate that Mr. Trump not get elected.” Id. at n. 217. He was responsible for making

sure the FISA applications were verified by providing a “factual accuracy review,”16 yet he

included false and incomplete information for the court, and he failed to inform the court of

significant exculpatory information. See generally IG Report.

          One of the FBI lawyers falsified a document in support of one of the FISA applications.17

IG Report at 160. Aside from falsifying documents, the IG Report confirmed SSA 1, through his



15
     See IG Report at 95-96.
16
     IG Report at 151.
17
   This unnamed FBI lawyer is likely Kevin Clinesmith. Jerry Dunleavy, FBI Lawyer Under
Criminal Investigation Altered Document to Say Carter Page ‘was Not a Source’ for Another
Agency, WASH. EXAMIN’R (Dec. 9, 2019), https://www.washingtonexaminer.com/news/fbi-
lawyer-under-criminal-investigation-altered-document-to-say-carter-page-was-not-a-source-for-
another-agency (“in a scathing July 2018 inspector general report on the FBI’s Clinton emails
investigation, Clinesmith was criticized at least 56 times as being one of the FBI officials who
conveyed a bias against Mr. Trump in instant messages, along with Peter Strzok and FBI lawyer
Lisa Page, both of whom have left the Bureau.”). As documented in the June 2018 IG Report,
Clinesmith played a pivotal role in the small group working against Mr. Flynn. Both he and Sally
Moyer, FBI Unit Chief in the Office of General Counsel, had extreme anti-Trump bias as reflected
                                                 11
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supervision of Case Agent 1,18 withheld exculpatory information from the court that was material

to its determination regarding the warrants. Id. at 232-33. Shockingly, as further briefed below,

SSA 1 also participated surreptitiously in a presidential briefing with candidate Trump and Mr.

Flynn for the express purpose of taking notes, monitoring anything Mr. Flynn said, and in

particular, observing and recording anything Mr. Flynn or Mr. Trump said or did that might be of

interest to the FBI in its “investigation.” IG Report at 340.

          In addition to myriad problems with Christopher Steele, the IG Report confirmed that other

unverified information from another source (Source 2, likely Stefan Halper19), was used to obtain

FISA warrants to wiretap Carter Page (and thereby reach Mr. Flynn). IG Report at 313-33. Source

2 was closed by the FBI in 2011; however, Source 2 was re-opened by Case Agent 1. Id. Case

Agent 1 reported to SSA 1 during Crossfire Hurricane. Id. at 81. Source 2’s involvement in the

Crossfire Hurricane investigation arose out of Case Agent 1’s pre-existing relationship with Source

2. Id. at 313. “SSA 1 told the OIG that he did not know about Source 2, or know that Case Agent

1 was Source 2’s handler, prior to Case Agent 1 proposing the meeting [on August 11, 2016],

which SSA 1 approved.” Id. Notably, there was “no supporting documentation” to support that




in the aforementioned IG Report. Clinesmith texted Sally Moyer after Hillary Clinton’s loss, “I
am numb.” Moyer replied, “I can’t stop crying,” and “You promised me this wouldn’t happen.
YOU PROMISED.” In the course of comforting Moyer, Clinesmith said, “I am so stressed about
what I could have done differently.” See U.S. Department of Justice (DOJ) Office of the Inspector
General (OIG), A Review of Various Actions by the Federal Bureau of Investigation and
Department of Justice in Advance of the 2016 Election at 417 (June 2018)
https://www.justice.gov/file/1071991/download.
18
     IG Report at 81.
19
  Madeline Osburn, FBI Terminated Anti-Trump Source Stefan Halper ‘For Cause’ in 2011, THE
FEDERALIST (Dec. 9, 2019), https://thefederalist.com/2019/12/09/fbi-terminated-anti-trump-
source-stefan-halper-for-cause-in-2011/.


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“Source 2 has routinely provided reliable information that has been corroborated by the FBI.” Id.

at 418 (“Appendix One”). Despite the lack of documentation, it was relied upon in the first FISA

application. Id. Notably, Mr. Flynn requested information relating to Source 2/Halper in his

Motion to Compel the Production of Brady Material and for an Order to Show Cause. ECF No.

111 at 4; ECF No. 116 at 1 (relating to additional material for Col. (Ret.) James Baker who ran

Halper through the Department of Defense Office ONA). That request was denied. ECF No. 143.

       C.      SSA 1’s Deceitful Participation in the Presidential Briefing Alone is So
               Egregious It Requires Dismissal.

       Strzok and Lisa Page texted about an “insurance policy” on August 15, 2016.20 They

opened the FBI “investigation” of Mr. Flynn on August 16, 2016. IG Report at 2. The very next

day, SSA 1 snuck into what was represented to candidate Trump and Mr. Flynn as a presidential

briefing. IG Report at 340. It appears that the “insurance policy” on candidate Trump was “taking

out” Mr. Flynn. As explained in the IG Report:

       …during the presidential election campaign, the FBI was invited by ODNI to
       provide a baseline counterintelligence and security briefing (security briefing) as
       part of ODNI’s strategic intelligence briefing given to members of both the Trump
       campaign and the Clinton campaign… We also learned that, because Flynn was
       expected to attend the first such briefing for members of the Trump campaign on
       August 17, 2016, the FBI viewed that briefing as a possible opportunity to collect
       information potentially relevant to the Crossfire Hurricane and Flynn
       investigations. We found no evidence that the FBI consulted with the Department
       leadership or ODNI officials about this plan.

IG Report at 340.

       While SSA 1’s stated purpose of the presidential briefing on August 17, 2016, was “to

provide the recipients ‘a baseline on the presence and threat posed by foreign intelligence services


20
  U.S. Department of Justice (DOJ) Office of the Inspector General (OIG), A Review of Various
Actions by the Federal Bureau of Investigation and Department of Justice in Advance of the 2016
Election at 404 (June 2018) https://www.justice.gov/file/1071991/download.


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to the National Security of the U.S,’” IG Report at xviii (Executive Summary), the IG Report

confirmed that, in actuality, the Trump campaign was never given any defensive briefing about

the alleged national security threats. IG Report at 55. Thus, SSA 1’s participation in that

presidential briefing was a calculated subterfuge to record and report for “investigative purposes”

anything Mr. Flynn and Mr. Trump said in that meeting. IG Report at 408. The agent was there

only because Mr. Flynn was there. IG Report at 340. Ironically, Mr. Flynn arranged this meeting

with ODNI James Clapper for the benefit of candidate Trump.

       More specifically, as the Inspector General explained further in his testimony to Congress

on December 11, 2019, SSA 1 surreptitiously interviewed and sized-up Mr. Flynn on August 17,

2016, under the “pretext” of being part of what was actually a presidential briefing but reported

dishonestly to others as a “defensive briefing.”21 The IG Report states:

        In August 2016, the supervisor of the Crossfire Hurricane investigation, SSA 1,
       participated on behalf of the FBI in an ODNI strategic intelligence briefing given
       to candidate Trump and his national security advisors, including Flynn, and in a
       separate briefing given to candidate Clinton and her national security advisors. The
       stated purpose of the FBI's participation in the counterintelligence and security
       portion of the briefing was to provide the recipients ‘a baseline on the presence and
       threat posed by foreign intelligence services to the National Security of the U.S.’
       However, we found the FBI also had an investigative purpose when it specifically
       selected SSA 1, a supervisor for the Crossfire Hurricane investigation, to provide
       the FBI briefings. SSA 1 was selected, in part, because Flynn, who would be
       attending the briefing with candidate Trump, was a subject in one of the ongoing
       investigations related to Crossfire Hurricane. SSA 1 told us that the briefing
       provided him ‘the opportunity to gain assessment and possibly some level of
       familiarity with [Flynn]. So, should we get to the point where we need to do a
       subject interview…I would have that to fall back on.’

       After the meeting, SSA 1 drafted an Electronic Communication (EC) documenting
       his participation in the ODNI strategic intelligence briefing attended by Trump,
       Flynn, and another advisor, and added the EC to the Crossfire Hurricane


21
    C-SPAN, Inspector General Report on Origins of FBI's Russia Inquiry, C-SPAN.COM, Dec.
11, 2019, https://www.c-span.org/video/?466593-1/justice-department-ig-horowitz-defends-
report-highlights-fisa-problems.


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       investigative file. The EC described the purpose, location, and attendees of the
       briefing, and recounted in summary fashion the portion of the briefing SSA 1
       provided. Woven into the briefing summary were questions posed to SSA 1 by
       Trump and Flynn, and SSA l's responses, as well as comments made by Trump and
       Flynn. SSA 1 told us that he documented those instances where he was engaged by
       the attendees, as well as anything related to the FBI or pertinent to the Crossfire
       Hurricane investigation, such as comments about the Russian Federation. SSA 1
       said that he also documented information that may not have been relevant at the
       time he recorded it, but might prove relevant in the future.

IG Report at 407-08.

       In clear and certain terms, the Inspector General found “members of the Crossfire

Hurricane team repeatedly failed to provide OI [Office of Intelligence] with all relevant

information.” IG Report at 362.        SSA 1 even “speculated” that Steele’s information was

corroborated—when it was not—and he was responsible for numerous “inaccuracies,”

“omissions,” and “unsupported statements” in the FISA applications. See generally IG Report at

Chs. 5, 9. The last two FISA warrants including the one entered specifically for the benefit of the

SCO were illegal. Any and all evidence derived from those warrants regarding Mr. Flynn must be

suppressed.

       An objective view of SSA 1’s purported handwritten notes with the FD-302 of the January

24, 2017 interview of Mr. Flynn that Lisa Page instructed Agent Strzok to edit on February 10,

2017, reveals equally troubling “inaccuracies,” “omissions,” and “unsupported statements.” 22 The



22
    As previously briefed by Mr. Flynn, aside from the fact that the FD-302 was in a “deliberative
process” for weeks and material changes were made to it with the knowledge and instruction of
Counsel to McCabe (Lisa Page) on the night of February 10, 2017, there are statements in the FD-
302 that find no support in the notes of either agent. ECF No. 129-2 at 14-17 (Sections 6 through
9). The changes include the addition of the line “‘or if KISLYAK described any Russian response
to a request by FLYNN.’” That question and answer do not appear in the notes. Id. This Court
excused those additions by pointing out that agents also include information from their memory.
ECF No. 144 at 41. That simply makes finding the original FD-302 that much more important—
as it would have been the freshest version. The FD-302 that serves as the basis for the false
statements charge against Mr. Flynn was altered weeks after the interview and long past the five
days in which a FD-302 is to be finalized under FBI rules.
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IG Report evinces that Mr. Flynn has still not been provided with all the evidence of egregious

government misconduct dishonestly wielded to destroy the National Security Advisor to President

Trump as part of their larger anti-Trump scheme.

       D.      The Inspector General Abhorred this Conduct as did FBI Director
               Christopher Wray.

       This intolerable breach of trust and deceitful conduct by the FBI leadership and SSA 1

alone is enough to warrant dismissal of all charges against Mr. Flynn. Current FBI Director

Christopher Wray immediately responded to the IG Report to confirm that this would not happen

again.23 It was simply so outrageous there was not a formal policy to foreclose it at the time. No

rational person could have anticipated that anyone entrusted with the “Fidelity, Bravery, and

Integrity” of the FBI would suggest such an operation against a presidential nominee.

       The case against Mr. Flynn should be dismissed immediately for this egregious abuse of

power and trust, and for the prosecution’s failure to disclose it to the defense from November 29,

2017, until the release of the IG Report—more than two years later.24




23
   Press Release, FBI Director Christopher Wray’s Response to Inspector General Report (Dec.
9, 2019) (on file with FBI.gov), https://www.fbi.gov/news/pressrel/press-releases/fbi-director-
christopher-wray-response-to-inspector-general-report.
24
   The electronic communication written by SSA 1 arising from the presidential briefing was
approved by Strzok. It was uploaded into Sentinel August 30, 2016. IG Report at 343 and n. 479.
In truth, but unknown to Mr. Flynn until the release of this Report, SSA1 was actually there
because he was investigating the candidate’s national security advisor as being “an agent of
Russia.” This report of that interaction including purported statements by Mr. Flynn was put it in
a sub-file of the Crossfire Hurricane file. That, and the DOJ document completely exonerating
Mr. Flynn of that slanderous assertion, has never been produced to Mr. Flynn. This was
extraordinary Brady and Giglio information that should have been provided to Mr. Flynn by Mr.
Van Grack no later than upon entry of this Court’s Brady order.


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     III.      SUPPRESSION OF UNDENIABLE BRADY EVIDENCE MANDATES
               DISMISSAL OF THIS CASE.
            This Court should dismiss this prosecution for the government’s recurring Brady violations

revealed or disclosed only since December 9, 2019. As Glen Greenwald wrote: “the FBI’s gross

abuse of its power – its serial deceit – is so grave and manifest that it requires little effort to

demonstrate it. In sum, the IG Report documents multiple instances in which the FBI – in order

to convince a FISA court to allow it to spy on former Trump campaign operative Carter Page

during the 2016 election – manipulated documents, concealed crucial exonerating evidence, and

touted what it knew were unreliable if not outright false claims.”25

            The IG Report is damning evidence of Brady violations and outrageous government

misconduct by the FBI agents who deceitfully listened to Mr. Flynn on August 17, 2016, and

interviewed him on January 24, 2017. Neither time did they even advise him he was under

investigation. He had no warnings—not even those given to government employees. The entire

scenario was planned and rehearsed to keep from alerting him to the seriousness of it all. Surely,

such alleged conduct cannot be a foundation for a federal felony. Sorrells, 287 U.S. at 442 ("A

different question is presented when the criminal design originates with the officials of the

Government, and they implant in the mind of an innocent person the disposition to commit the

alleged offense and induce its commission in order that they may prosecute.").

            Remarkably, FBI agents continued to alter and manipulate Mr. Flynn’s January 24, 2017

FD-302 until it met the approval of Deputy Director McCabe’s Special Counsel and McCabe



25
   Glen Greenwald, The Inspector General’s Report on 2016 FBI Spying Reveals a Scandal of
Historic Magnitude: Not Only for the FBI but Also the U.S. Media, The Intercept,
https://theintercept.com/2019/12/12/the-inspector-generals-report-on-2016-fb-i-spying-reveals-a-
scandal-of-historic-magnitude-not-only-for-the-fbi-but-also-the-u-s-media/?comments=1 (Dec.
12, 2019, 11:44 AM).


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approved it. As previously explained, SSA 1 was responsible for false and wrong information

repeatedly presented to the FISA court. The government and that agent failed to provide this

exculpatory evidence to that court at every turn. The same agents and the prosecutors also failed

to provide such important Brady material to Mr. Flynn.26

       Mr. Van Grack’s suppression of this crucial Brady information—and his failure to disclose

that SSA 1 had a “baseline” read on Mr. Flynn—demands dismissal of this case.27                 The



26
  See Judge Boasberg opinion, see supra n. 11. Mr. Flynn’s communications were obtained in
violation of the Fourth Amendment—whether through illegal FISA abuses or abuses of the NSA
database or mishandling Presidential Transition Team Materials.

         In the January 2020 FISC report, Judge Boasberg wrote that “due in large part to the work
of the Office of the Inspector General,” the Court has received notice of “material misstatements
and omissions in the applications filed by the government in the above-captioned dockets [16-
1182, 17-52, 17-375, 17-769].” Order Regarding Handling and Disposition of Information at 1
(1/7/20). The DOJ acknowledges “there was insufficient predication to establish probable cause
to believe that [Carter] Page was acting as an agent of a foreign power” with respect to when it
filed its applications, “if not earlier.” Id. The FBI was sequestering documents it acquired pursuant
to the listed docket numbers but did not give a deadline or methods of sequestration – merely
promising to update the court. Id. As of January 7, 2020, no update had been received. Id. As a
result of the situation, the Court ordered that the government make a submission of the FBI’s
handling of information obtained pursuant to these dockets, including: detailed steps taken to
restrict access in unminimized form, detailed steps taken to restrict access to such information in
other forms, timetable for completion of steps, explanation of the “further review of the OIG
Report” and “related investigations and any litigation” that would require retention of the above
information, and an explanation of why the retention comports with FISA. Id. at 2. This is a
developing issue that Mr. Flynn wants to preserve in light of Judge Boasberg’s holding that the
FISA warrant was invalid, thereby invalidating information illegally obtained that likely relates to
Mr. Flynn.
27
   The Government’s misconduct also provides further support for Mr. Flynn’s motion to withdraw
his plea, filed contemporaneously herewith. A defendant’s plea is only valid if it was entered
knowingly and intelligently. See e.g., Hill v. Lockhart, 474 U.S. 52 (1985). But, “this test suffices
only in the “absen[ce of] misrepresentation or other impermissible conduct by state agents. Miller
v. Angliker, 848 F.2d 1312, 1320 (2d Cir. 1988). “[T]he validity of the plea must be reassessed if
it resulted from “impermissible conduct by state agents.” United States v. Avellino, 136 F.3d 249,
255 (2d Cir. 1998) (quoting Brady v. Maryland, 397 U.S. 742, 757 (1970)). “[E]ven a guilty plea
that was ‘knowing’ and ‘intelligent’ may be vulnerable to challenge if it was entered without
knowledge of material evidence withheld by the prosecution.” Miller v. Angliker, 848 F.2d 1312,
1320 (2d Cir. 1988). After all, “if a defendant may not raise a Brady claim after a guilty plea,
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government’s suppression (or destruction) of the original FD-302 of the interview of January 24,

2017 is now even more important. That SSA 1 participated in two interviews of Mr. Flynn and

immediately reported to multiple people—as did Strzok—that Mr. Flynn was being honest with

the agents dramatically magnifies the importance of SSA 1’s statements and perceptions as written

on January 24, 2017.

       Another stunning revelation in the IG Report is that SSA 1 played a large part in the lies to

the FISA court from the first application on Carter Page onward. See supra 12. Much like the

fabricated FISA application based on the “Steele dossier” used against Carter Page, the FBI knew

this was nonsense because Mr. Flynn worked with the FBI as allies for years, including as head of

the Defense Intelligence Agency (“DIA”), and he continued working with the DIA on all his

foreign contacts thereafter—including contacts in Russia and Turkey.28 Mr. Flynn requested this

DIA information in his Motion to Compel Brady Material. ECF No. 133 at 29-30.




prosecutors may be tempted to deliberately withhold exculpatory information as part of an attempt
to elicit guilty pleas.” Sanchez v. United States, 50 F.3d 1448, 1453 (9th Cir. 1995). A majority
of the Circuits agree that Brady violations can be the basis to withdraw a plea.

        The D.C. District Court held that the government’s suppression of Brady was sufficient to
permit him to withdraw his plea post-sentencing—despite the high standard of "manifest
injustice.” United States v. Nelson, 59 F. Supp. 3d 15, 17 (D.D.C. 2014) (holding a suppressed
exculpatory email sufficient to withdraw the plea); see also, United States v. Lough, 203 F. Supp.
3d 747 (N.D. W. Va. 2016) (granting a motion to withdraw a guilty plea where counsel was not
aware that, and therefore did not inform the defendant that, a substantial portion of the
government’s evidence against the defendant could have been suppressed because of the invalidity
of the government’s warrant that led to the collection of that evidence. Id. at 753-54. This failure
stripped defendant of “close assistance of competent counsel,” thus his guilty plea was not
knowingly entered. Id. at 754-55. These are additional grounds to allow Mr. Flynn to withdraw
his plea. ECF No. 151.
28
  The documentation of his work with the DIA after he retired is a significant part of the Brady
evidence the government has refused to produce to Mr. Flynn.


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       The government’s conduct in this case shows contempt for the law at every turn. Mr. Flynn

was targeted and deliberately destroyed by corrupt factions within the FBI and intelligence

community. While Mr. Flynn’s case is not even the focus of the IG Report, the Report reveals

illegal, wrongful, and improper conduct that affected Mr. Flynn, and is the subject of an ongoing

criminal investigation by United States Attorney John Durham. Both Attorney General Barr and

John Durham issued statements on the heels of the Inspector General’s Report to clarify that more

information was being discovered in Mr. Durham’s investigation, and, as Mr. Durham stated:

“[W]e advised the Inspector General that we do not agree with some of the report’s conclusions as

to predication and how the FBI case was opened.”29 The defense expects additional information

to be developed that exonerates Mr. Flynn.

       “Exercising the inherent authority [of the court] is most appropriate in particular fact

situations that do not lend themselves to rules of general application. Omni Int'l Corp., 634 F.

Supp. at 1438. That is certainly the case here, where Mr. Flynn’s facts arise in the midst of what

has been exposed as a shamefully abusive and corrupt period in FBI history, an operation that has

sparked a massive investigation by the Inspector General, and now an ongoing criminal

investigation by United States Attorney John Durham. At bottom, Mr. Flynn was framed and set-

up by his own government in a shockingly inappropriate and wrongful conduct by the “leadership”

of the FBI, DOJ, and “intelligence officials.” The FBI “leadership” schemed to interview Mr.

Flynn twice—with no warning—not just of his rights—but even of the fact that they were

investigating him.    This was a coordinated, deliberate, unconscionable, and result-driven




29
   U.S. Attorney John H. Durham, Statement (Dec. 9, 2019) (transcript available at
https://www.justice.gov/usao-ct/pr/statement-us-attorney-john-h-durham).


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mechanism to create a “crime” they clearly sought. This abuse of power is so pernicious it

undermines the very foundations of our constitutional republic.

         Even though the investigation pertains to the abuses of the FISA process, not the FBI and

DOJ’s misconduct regarding Mr. Flynn, the IG Report simultaneously documents at least some of

FISA process abuses and misconduct against Mr. Flynn. The IG Report is replete with exculpatory

evidence that, had it been known to Mr. Flynn, he never would have pled guilty. The government’s

suppression of evidence drove a three-star military veteran of multiple conflicts to plead to a crime

he did not believe he committed. It now raises the specter that the foremost intelligence officer of

this generation, a combat veteran and war hero, will serve time behind bars. This is not only

manifestly unjust, it makes a mockery of Brady and due process. See United States v. Brown, 250

F.3d 811, 818 (3d Cir. 2001) (acknowledging that a Brady violation is “closely bound to due

process guarantees”); Campbell v. Marshall, 769 F.2d 314, 321 (6th Cir. 1985) (determining that

“in Tollet and the Brady trilogy, the Supreme Court did not intend to insulate all misconduct of

constitutional proportions from judicial scrutiny solely because that misconduct was followed by

a plea which otherwise passes constitutional muster as knowing and intelligent”).

   IV.      THE GOVERNMENT’S ROLE IN DEMANDING, RUSHING, REVIEWING,
            AND COORDINATING THE FARA FILING FORECLOSES USE OF IT TO
            PROSECUTE FLYNN.

         As briefed extensively in Mr. Flynn’s Supplemental Motion to Withdraw His Plea (ECF

No. 150), David Laufman, former Chief of the U.S. Department of Justice’s Counterintelligence

and Export Control Section, and the FARA Unit of the DOJ were adamant that Flynn Intel Group

(“FIG”) file a FARA registration even though FARA experts at Covington and at Arent Fox were

not sure that one was warranted. Indeed, Matthew Nolan, FARA expert at Arent Fox, was adamant

that no filing was required in this case. Ex. 3.



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         Mr. Flynn wanted to “do the right thing.” He authorized his lawyers to “be precise,”

complete the task, and file the registration. Ex. 4. Moreover, in September 2016, FIG Partner

Bijan Rafiekian had timely sought legal counsel requesting to file a FARA, but he was advised by

attorney Robert Kelley to file an LDA instead. Ex. 5. An LDA filing is the largest single exception

to the requirement of filing FARA, and in many cases, filing an LDA satisfies FARA. 22 U.S.C.

§ 613(h) (2019).

         Mr. Laufman applied extraordinary pressure on Covington and repeatedly inserted himself

and others including multiple members of the FARA division—into the planning, content, and

filing of FIG’s registration. ECF No. 151 at n. 3 and at 4-5. There is no valid FARA offense

against Mr. Flynn. The extraordinary involvement of the FARA Unit and Mr. Laufman in this

process (as fully briefed in ECF No. 98-7 at 11) should foreclose or estop any use of the registration

against Mr. Flynn. Sorrells, 287 U.S. at 444 (quoting Butts v. United States, 273 F. 35 (8th Cir.

1921)) ("The first duties of the officers of the law are to prevent, not to punish crime. It is not their

duty to incite to and create crime for the sole purpose of prosecuting and punishing it.").

    V.      PROSECUTORS CREATED THE “FALSE STATEMENTS” IN THE FARA
            FILINGS AND SOUGHT TO SUBORN PERJURY.
         As we briefed in full previously at ECF No. 133 and ECF No. 151, the SCO in general and

Mr. Van Grack in particular, cooked-up the “false statements” in the FARA filing and have long

been in possession of statements by Covington lawyer Brian Smith that completely contradict the

government’s assertions of any wrongdoing by Mr. Flynn on the FARA registration. The same

documents show that Mr. Van Grack sought to have Mr. Flynn make affirmative false statements

in his June 2019 interview with the FBI and EDVA prosecutors, and Mr. Turgeon, and

compounded that atrocity by demanding Mr. Flynn testify falsely on the same point in the




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Rafiekian trial. Mr. Van Grack has spent the last year taking retaliatory action against Mr. Flynn

over the same issues as the defense has briefed.

                                         CONCLUSION

       The government’s misconduct undoubtedly harmed and prejudiced Mr. Flynn. For these

reasons, if the United States Department of Justice does not come forth to meet its most solemn

duty and move to dismiss this travesty, this Court should dismiss this prosecution because of the

government’s outrageous and egregious misconduct directed specifically against Lt. General

Michael T. Flynn (Retired). “[I]t is unconscionable, contrary to public policy, and to the

established law of the land to punish a man for the commission of an offense of the like of which

he had never been guilty, either in thought or in deed, and evidently never would have been

guilty of if the officers of the law had not inspired, incited, persuaded, and lured him to attempt

to commit it." Sorrells, 287 U.S. at 444-45 (quoting Butts, 273 F. at 38).



 Dated: January 29, 2020                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2020, a true and genuine copy of Mr. Flynn’s Motion

to Dismiss for Egregious Government Misconduct and in the Interest of Justice was served via

electronic mail by the Court’s CM/ECF system to all counsel of record, including:

       Jessie K. Liu, U.S. Attorney for the District of Columbia
       Brandon L. Van Grack, Special Assistant U.S. Attorney
       Jocelyn Ballantine, Assistant U.S. Attorney
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                                                    Respectfully submitted,

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